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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

www.flmb.uscourts.gov

 

Chapter 7
In re:

Case No. 6:18-bk-06821-KSJ
DON KARL JURAVIN,

Case No. 6:20-bk-01801-KSJ

Debtor.
Jointly Administered with
/ Case No. 6:18-bk-06821-KSJ

DON KARL JURAVIN,

Case No. 6:18-bk-06821-KSJ

MUST CURE OBESITY, CO.
Case No. 6:20-bk-01801-KSJ

Applicable Debtors.
/

 

AMENDED NOTICE OF RULE 2004 EXAMINATION
OF APRIL GOODWIN [VIA ZOOM] AND SUBPOENA
[amended to designate remote proceeding and attaching subpoena]
Dennis D. Kennedy, Chapter 7 Trustee (7rustee) for the Estate of Don Karl Juravin (Case
No. 6:18-bk-06821-KSJ) and the Estate of Must Cure Obesity, Co. (Case No. 6:20-bk-01801-
KSJ), by and through his undersigned counsel and pursuant to Fed. R. Bank. P. 2004 and Local
Rule 2004-1, will conduct a Bankruptcy Rule 2004 Examination of April Goodwin (Witness).
The Subpoena for Rule 2004 Henmninattan (testimony) intended for service on April Goodwin at
The Goodwin Firm, 801 West Bay Drive, Suite 705, Largo, FL 33770-3266, is attached hereto as
Exhibit 1.

Trustee has coordinated the scheduling of the examination with the Witness, which will

occur remotely by ZOOM, on April 8, 2021, at 10:00 a.m. before Esquire Deposition Solutions
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(court reporter), continuing from day to day until completion. The examination will occur as

scheduled and without a court order. Esquire Deposition Solutions will be hosting the Zoom

video appearance. Anyone other than the Witness, Debtor, Debtor’s counsel, and Trustee

specified in the Certificate of Service below and who would like to appear must notify the

undersigned attorney in advance.

Zoom Instructions

Esquire Deposition Solutions [Scheduling Office Phone: +1 312 626 6799 or +1 646 558 8656]

Room: RDR 235

Where: https://esquiresolutions.zoom.us/j/94540085683 ?pwd=UVNISTFwRU92VGJsUVhUc3drYlg5UT09
Meeting ID: 94540085683 Password: 6810642

Dated: March 17, 2021 /S/ JAMES D. RYAN

JAMES D. RYAN, ESQ.

FLORIDA BAR No. 0976751
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MAIN: (561) 881-4447 FAx: (561) 881-4461
SPECIAL COUNSEL TO DENNIS D, KENNEDY, TRUSTEE

 

 

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 17" day of March, 2021, a true copy of the foregoing

Amended Notice of Rule 2004 Examination & Subpoena has been served by CM/ECF and US
mail as indicated:
CM/ECF

United States Trustee, c/o Charles R. Sterbach Esq., Federal Bldg., 400 W. Washington St., Suite
1100, Orlando, FL 32801

Dennis D. Kennedy, Trustee, P. O. Box 541848, Merritt Island, FL 32954

Bradley M. Saxton, Esq., Winderweedle, Haines, Ward & Woodman, P.A., 329 Park Ave. N.,
2nd Flr, Winter Park, FL 32789

Aldo G. Bartolone, Jr., Esq., Bartolone Law, PLLC, 1030 N. Orange Ave., Suite 300, Orlando,
FL 32801

US Mail

Don Karl Juravin, 15118 Pendio Drive, Montverde, FL 34756
April Goodwin, Esq., The Goodwin Firm, 801 West Bay Dr., Ste 705, Largo, FL 33770-3266 and
by email to april@goodwin-firm.com

/S/ JAMES D. RYAN
JAMES D. RYAN, Esq.
